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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          RICKY ALLEN LEE, et al.,                         CASE NO. C10-0618-JCC
10                             Plaintiffs,                   ORDER
11                     v.

12          ITT CORPORATION, et al.,

13                             Defendants.
14

15          This matter comes before the Court on the parties’ joint motion for final approval of class

16   settlement (Dkt. No. 138) and Plaintiffs’ motion for attorney fees (Dkt. No. 140).

17          This litigation involves breach of contract claims brought by Defendants’ former

18   employees for alleged wage and hour violations that occurred while they were working under a

19   General Maintenance and Supply Services (“GMASS”) contract to provide services to the United

20   States Army in Kuwait. (See generally, Dkt. No. 1.) The Court previously certified a class of

21   “[a]ll employees of Defendant ITT Corporation or its subsidiaries who performed work under the

22   ‘GMASS’ contract in Kuwait on or after April 12, 2009.” (Id.) After an interlocutory appeal, the

23   Ninth Circuit affirmed the Court’s certification order. See Lee v. ITT Corp., 652 F. App’x 535

24   (9th Cir. 2016). The parties subsequently reached a class settlement, and the Court granted

25   preliminary approval of the parties’ proposed class settlement agreement. (Dkt. No. 134.)

26          The parties have filed a joint motion seeking final approval of the class settlement


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 1   agreement (the “Agreement”). (Dkt. No. 138.) Plaintiffs have also moved for an award of

 2   attorney fees, expenses, and incentive payments to the class representatives (Dkt. No. 140). The

 3   terms of the settlement are set forth in the Agreement, executed by counsel on May 10, 2018 on

 4   behalf of all of the Plaintiffs and Defendants. (See Dkt. No. 131 at 16–36.) The Court held a

 5   fairness (final approval) hearing on October 16, 2018. No one appeared at the fairness hearing to

 6   object to the Settlement.

 7           Having duly considered all submissions and arguments presented, the Court FINDS and

 8   ORDERS as follows:
 9          1.      The capitalized terms used in this Final Approval Order and Judgment shall have
10   the same meaning as defined in the Agreement.
11          2.      The Court has jurisdiction over the subject matter of this action and over all
12   claims raised therein and all parties thereto, including the Plaintiff Class.
13          3.      The Court hereby approves the Agreement, including the plans for
14   implementation and distribution of the settlement fund, and finds that the Agreement is, in all
15   respects, fair, reasonable, and adequate to the Plaintiff Class, within the authority of the parties,
16   and the result of extensive arm’s length negotiations. The parties shall effectuate the Agreement
17   in accordance with its terms. The Agreement and every term and provision thereof shall be
18   deemed incorporated herein as if explicitly set forth and shall have the full force of an order of

19   this Court.

20          4.      Only one Plaintiff Class Member opted out of the class. No Plaintiff Class

21   Members filed objections.

22          5.      The Plaintiff Class, which will be bound by this Final Approval Order and

23   Judgment, shall include members of the Plaintiff Class who did not submit timely and valid

24   requests to be excluded.

25          6.      The Court finds that the plan for settlement notice, set forth in the Agreement and

26   effectuated pursuant to the Preliminary Approval Order and the Court’s order modifying class


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 1   notice (Dkt. No. 137), was the best notice practicable under the circumstances and provided due

 2   and sufficient notice to the Plaintiff Class of the pendency of the action, certification of the

 3   Plaintiff Class, the existence and terms of the Agreement, and the final approval hearing, and

 4   satisfies the Federal Rules of Civil Procedure, the United States Constitution, the requirements

 5   set forth in In Re Mercury Interactive Corp. Sec. Litig., 618 F.3d 988, 994 (9th Cir. 2010), and

 6   any other applicable law.

 7          7.      The Agreement is in all respects fair, reasonable, and adequate, and is in the best

 8   interests of the Plaintiff Class, and is therefore approved.
 9          8.      All persons who have not made their objections to the settlement in the manner
10   provided in the Agreement are deemed to have waived any objections by appeal, collateral
11   attack, or otherwise.
12          9.      Within the time periods set forth in the Agreement, settlement payments shall be
13   issued to each Plaintiff Class Member under the terms and conditions of the Agreement.
14          10.     Upon the effective date, Plaintiff Class Members who did not validly and timely
15   opt-out shall have, by operation of this Final Approval Order and Judgment, forever released,
16   resolved, relinquished, and discharged the released parties from any claims that arise out of or
17   relate to the alleged facts, circumstances, and occurrences underlying the claims that were
18   asserted or could have been asserted in this litigation.

19          11.     This Final Approval Order and Judgment, the Agreement, the settlement which it

20   reflects, and any and all acts, statements, documents, or proceedings relating to the settlement are

21   not, and shall not be construed as, or used as an admission by or against the parties of any fault,

22   wrongdoing, or liability on their part or of the existence or amount of any damages.

23          12.     The Court finds the number of hours expended by Class Counsel in this litigation

24   and Class Counsel’s hourly rates to be reasonable. The Court further finds that attorney fees

25   representing 29% of the settlement fund are reasonable when considering factors such as the

26   contingent nature of success, complexity of the issues, and duration of the litigation.


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 1   Accordingly, the Court hereby grants Class Counsel’s request for an award of reasonable

 2   attorney fees in the amount of $1,087,500. The Court further grants Class Counsel its reasonable

 3   litigation expenses in the amount of $135,700.54. Class Counsel’s requested costs are supported

 4   by substantial evidence in the record. The Court further approves payments to Class

 5   Representative Plaintiff Ricky A. Lee in the amount of $20,000 and Class Representative

 6   Plaintiff Paul A. Rigsby in the amount of $10,000.

 7          13.     The above-captioned action is hereby DISMISSED in its entirety with prejudice.

 8   Without affecting the finality of the Judgment hereby entered, the Court reserves jurisdiction
 9   over the implementation of the Agreement, including enforcement and administration of the
10   Agreement.
11          14.     The Clerk is DIRECTED to terminate the motions associated with docket
12   numbers 138 and 140, and close this case.
13          DATED this 16th day of October 2018.
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                                                          A
                                                          John C. Coughenour
19                                                        UNITED STATES DISTRICT JUDGE

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